                                                       Exhibit 2


Jake Doran

From:                            Jake Doran
Sent:                            Friday, January 5, 2024 2:39 PM
To:                              Justin Winch
Cc:                              Nicholas P. Arnold | Partner
Subject:                         RE: Washington v. Safepoint - Updated Exactimate from GLS and Associates



Justin,

I tried to give you a call today on this one. Based on this new estimate and report, we will need to schedule a
joint inspection with an engineer and adjuster. We currently have January 15th and 16th open for this
inspection. Let me know if Mr. Washington can have the property available on either of these dates.

Additionally, due to this new estimate and prospective inspection, we will need to reschedule the in-person
deposition of Gary Sanders. Please advise if Mr. Sanders is available February 1st or 2nd, and we will send out
new deposition notices.

We still plan to move forward with the deposition of Mr. Washington next Wednesday, as well as your
deposition of John Donadio and Jennifer Cotugno next Tuesday. Feel free to contact me if you would like to
discuss further.

Best,
Jake

From: Justin Winch <justin.winch@winchlawfirm.com>
Sent: Saturday, December 30, 2023 12:00 AM
To: Jake Doran <jdoran@bluewilliams.com>
Subject: Washington v. Safepoint - Updated Exactimate from GLS and Associates

Jake,
Please see a ached, updated Exac mate, and supplemental informa on, provided by GLS to Mr. Washington.

Jus n

Sincerely,



Jus n L. Winch, Esq.
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